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UNITED STATES DISTRICT COURT                                                                         _ _ _ __

SOUTHERN DISTRICT OF NEW YORK

United States of America,


                -v-                                                    15-cr-769 (AJN)

                                                                    OPINION & ORDER
Trevon Gross,

                              Defendant.


ALISON J. NATHAN, District Judge:

       On April 1, 2020, Defendant Trevon Gross filed an emergency motion for compassionate

release pursuant to 18 U.S.C. § 3582(c)(1)(a)(i). See Dkt. No. 753. In its April 6, 2020 Opinion

and Order, Dkt. No. 758, the Court expressed skepticism that it then possessed the authority to

grant Mr. Gross the relief he seeks, defered ruling on his motion at that time, and ordered the

Government to submit a letter immediately following the Bureau of Prisons’ final determination

on Mr. Gross’s request. The Court also articulated its expectation that BOP would act with the

swiftness the current situation demands and finally resolve Mr. Gross’s request by April 9, 2020.

Because BOP has not yet resolved Mr. Gross’s request and time is of the utmost essence, the

Court now decides his motion.

  I.   THE COURT LACKS AUTHORITY TO GRANT MR. GROSS’S MOTION AT
       THIS JUNCTURE

       As the Court noted in its April 6 Opinion and Order, “[a] court may not modify a term of

imprisonment once it has been imposed except pursuant to statute.” See Dkt. No. 758 at 4

(quoting United States v. Gotti, No. 02-cr-743 (CM), 2020 WL 497987, at *1 (S.D.N.Y. Jan. 15,

2020)). 18 U.S.C. § 3582(c)(1)(A), the compassionate release statute at issue here, provides

statutory authority for a court to reduce a term of imprisonment if, after considering the factors


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set forth in 18 U.S.C. § 3553(a), “it finds that . . . extraordinary and compelling reasons warrant

such a reduction . . . and that such a reduction is consistent with applicable policy statements

issued by the Sentencing Commission.” 18 U.S.C. § 3582(c)(1)(A). Where, as here, a motion

for compassionate release is made by a defendant—as opposed to BOP—the Court may only

reduce a defendant’s sentence “after the defendant has fully exhausted all administrative rights to

appeal a failure of the Bureau of Prisons to bring a motion on the defendant’s behalf” or after

“the lapse of 30 days from the receipt of such a request by the warden of the defendant’s facility,

whichever is earlier.” Id.

       The parties agree that Mr. Gross has satisfied neither statutory prerequisite for judicial

modification of his sentence. See Dkt. No. 753-1 at 2, 8; Dkt. No. 757 at 7. Indeed, he has not

yet fully exhausted all administrative rights to appeal, and his request, made through counsel,

was received by BOP on April 2, 2020, less than 30 days ago.1 Accordingly, the Court now

lacks authority to grant Mr. Gross the relief that he seeks unless it may waive the express

statutory exhaustion requirement § 3582(c)(1)(A) imposes. The tentative conclusion this Court

recached in its April 6 Opinion and Order, Dkt. No. 758, is now what this Court holds:

§ 3582(c)(1)(A)’s exhaustion requirement cannot be waived by this Court. See also, e.g., United

States v. Roberts, No. 18-cr-528 (JMF), 2020 WL 1700032, at *2 (S.D.N.Y. Apr. 8, 2020)

(reaching the same conclusion). To be sure, courts do have power to carve out exceptions to

judicially-crafted exhaustion requirements. But the exhaustion requirement at issue here is not a

1
 Though Mr. Gross’s counsel represents that BOP “has taken the position that it is not even
aware that Mr. Gross has submitted a claim,” see Dkt. No. 760 at 2, both the Government and
Mr. Gross have submitted USP Canaan’s April 2, 2020 confirmation of receipt of Mr. Gross’s
counsel’s request. See Dkt. No. 757-2; Dkt. No. 760-3. Accordingly, the Court deems April 2,
2020 the date of “the receipt” of Mr. Gross’s request for purposes of § 3582(c)(1)(A). See 28
C.F.R. § 571.61(b) (“The Bureau of Prisons processes a request made by another person on
behalf of an inmate in the same manner as an inmate’s request.”).


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judicial doctrine—it comes from § 3582(c)(1)(A)’s plain text. And “[w]here Congress

specifically mandates, exhaustion is required.” McCarthy v. Madigan, 503 U.S. 140, 144 (1992);

see also Ross v. Blake, 136 S. Ct. 1850, 1857 (2016) (noting that, although “judge-made

exhaustion doctrines, even if flatly stated at first, remain amenable to judge-made exceptions . .

.[,] mandatory exhaustion statutes like the [Prison Litigation Reform Act] establish mandatory

exhaustion regimes, foreclosing judicial discretion”). The Supreme Court has explained that

courts should “not read futility or other exceptions into statutory exhaustion requirements where

Congress has provided otherwise.” Booth v. Churner, 532 U.S. 731, 741 n.6 (2001); see also

Bastek v. Fed. Crop Ins. Corp., 145 F.3d 90, 94 (2d Cir. 1998) (“Faced with unambiguous

statutory language requiring exhaustion of administrative remedies, we are not free to rewrite the

statutory text.” (internal quotation marks omitted)).

        Moreover, as this Court has noted, the case for carving out equitable exceptions to this

requirement is especially weak here because “the statute itself provides an exception to this

exhaustion requirement, permitting a defendant to seek judicial review—even if he has not yet

fully exhausted his administrative rights—where 30 days have elapsed from the warden’s receipt

of the defendant’s request.” Dkt. No. 758 at 5. This “built-in exception to the statutory

exhaustion requirement,” id., further suggests that courts have no role in creating additional

exceptions to the requirement. In short, § 3582(c)(1)(A)’s exhaustion requirement is written in

mandatory terms, and no matter how compelling the circumstances, the Court lacks power to

excuse Mr. Gross’s compliance. The Court therefore cannot, at this time, grant Mr. Gross the

relief he seeks.

        In so concluding, the Court notes a growing split in this Circuit regarding whether §

3582(c)(1)(A)’s statutory exhaustion requirement is waivable. Just today, at least one other court




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in this District resolved this issue in the affirmative, while this Court now resolves it in the

negative. See United States v. Haney, No. 19-cr-541 (JSR), Dkt. No. 27 at 3 n.1 & 11–12 (Apr.

13, 2020) (collecting cases from this Circuit reaching opposite conclusions on this issue before

ultimately finding the exhaustion requirement waivable). Courts that have concluded that the

exhaustion requirement is waivable have consistently cited the COVID-19 public health crisis

and the urgent need to act quickly in their reasoning. See, e.g., United States v. Perez, No. 17-cr-

513 (AT), 2020 WL 1546422, at *3 (S.D.N.Y. Apr. 1, 2020); United States v. Colvin, No. 19-cr-

179 (JBA), 2020 WL 1613943, at *2 (D. Conn. Apr. 2, 2020); Haney, Dkt. No. 27 at 10. And

even courts—such as this one—that have concluded that the statutory exhaustion requirement is

not waivable have nonetheless attempted to exercise the limited powers available to them to

expedite consideration of the merits of defendants’ motions in the face of the rapidly-spreading

COVID-19 pandemic. See, e.g., United States v. Knox, No. 15-cr-445 (PAE), Dkt. No. 1078 at 1

(S.D.N.Y Apr. 2, 2020) (ordering the Government to file a sworn declaration from BOP setting

forth a firm date by which it would resolve defendant’s request and noting its expectation that

BOP would finally resolve defendant’s request within 8 days); Dkt. No. 758 at 8 (ordering the

Government to submit a letter as soon as BOP had finally resolved Mr. Gross’s request and

noting its expectation that it would do so within 4 days). Courts are thus in agreement regarding

the need to act with dispatch in deciding defendants’ compassionate release motions, even if they

are in disagreement as to whether or how § 3582(c)(1)(A) might allow them to do so.

       The patchwork approaches of courts in this Circuit underscore a great need for clarity—

and a more comprehensive solution—from Congress. If, as this Court and others believe,

Congress intended § 3582(c)(1)(A) to act as an accelerant to judicial review, it should take note

of the fact that today this Court is compelled by the express language of that statute to treat it as



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just the opposite. The Court, regrettably finding its hands tied by statute, thus once again

implores Congress to take further action in response to the threat COVID-19 poses to

incarcerated people before it is too late. For many of these defendants, awaiting administrative

exhaustion or the lapse of the statutorily-mandated 30-day period before courts may consider

their often meritorious compassionate release motions may mean the difference between life and

death.

 II.     THE COURT WILL GRANT MR. GROSS’S MOTION BY MAY 2, 2020

         In the interest of expedition, the Court now states its view on the merits of Mr. Gross’s

motion, which it will grant by May 2, 2020, if not sooner, for the reasons that follow.

         As discussed above, the compassionate release statute permits a court to reduce a term of

imprisonment if, after considering the factors set forth in 18 U.S.C. § 3553(a), “it finds that . . .

extraordinary and compelling reasons warrant such a reduction . . . and that such a reduction is

consistent with applicable policy statements issued by the Sentencing Commission.” 18 U.S.C. §

3582(c)(1)(A). “Congress tasked the Sentencing Commission with identifying the circumstances

that are sufficiently extraordinary and compelling to justify a reduction in sentence.” United

States v. Butler, No. 19-cr-834 (PAE), 2020 WL 1689778, at *1 (S.D.N.Y. Apr. 7, 2020) (citing

United States v. Ebbers, No. 02-cr-1144 (VEC), 2020 WL 91399, at *4 (S.D.N.Y. Jan. 8, 2020)).

The applicable policy statement, U.S.S.G. § 1B1.13, sets forth four circumstances that present

“extraordinary and compelling reasons” warranting a sentence reduction. Of particular relevance

here, one such circumstance exists where the defendant is “suffering from a serious physical or

medical condition . . . that substantially diminishes the ability of the defendant to provide self-

care within the environment of a correctional facility and from which he or she is not expected to

recover.” U.S.S.G. § 1B1.13(1)(A) & cmt. n.1(A). The policy statement also requires that the



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defendant not pose “a danger to the safety of any other person or to the community.” U.S.S.G. §

1B1.13(2).

       It is now nearly beyond cavil that the combination of the COVID-19 pandemic and Mr.

Gross’s health conditions constitutes an extraordinary and compelling reason warranting a

reduction of his sentence. The COVID-19 pandemic is “extraordinary and unprecedented in

modern times in this nation.” Butler, 2020 WL 1689778, at *2. As discussed in the Court’s

April 6 Opinion and Order, Mr. Gross suffers from several health conditions, at least one of

which places him at a higher risk for severe illness if he contracts COVID-19. See Dkt. No. 758

at 1. Moreover, not only is he at a higher risk of serious illness if he contracts COVID-19 due to

his underlying health conditions, but he is also at a higher risk of contracting COVID-19 due to

his incarceration. “And, realistically, a high-risk inmate who contracts the virus while in prison

will face challenges in caring for himself.” Butler, 2020 WL 1689778, at *2. For these reasons,

numerous courts have recently concluded that “extraordinary and compelling reasons” exist for

purposes of the policy statement where inmates suffer from medical conditions that place them at

a higher risk of serious illness in the event they contract COVID-19. See, e.g., United States v.

Zukerman, No. 16-cr-194 (AT), 2020 WL 1659880, at *5 (S.D.N.Y. Apr. 3, 2020) (collecting

cases). Accordingly, this factor favors Mr. Gross’s early release.2

       Furthermore, Mr. Gross does not pose any danger to the safety of others or the

community. He is a 50-year-old, first-time offender who was convicted of non-violent offenses.

There is not even so much as a suggestion in his record that he poses a danger to the community,

and the Court has, on a prior occasion, concluded by clear and convincing evidence that he does

2
  The requirement that any sentence reduction also be “consistent with applicable policy
statements” is met where, as here, “‘extraordinary and compelling reasons’ exist as defined” by
the applicable policy statement. See Ebbers, 2020 WL 91399, at *6.


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not. See Dkt. No. 678 at 2. The time that has passed since has only strengthened that

conclusion. Mr. Gross has been a model inmate at USP Canaan, having thus far earned 108 days

of good time credit to show for his exemplary behavior. See Dkt. No. 760 at 7; Dkt. No. 760-9 at

3.

       Finally, application of the § 3553(a) factors also favors a reduction of Mr. Gross’s

sentence. In light of the COVID-19 pandemic, the “history and characteristics of the defendant”

and the “need . . . to provide the defendant with needed . . . medical care,” 18 U.S.C. § 3553(a),

now weigh heavily in favor of Mr. Gross’s release, given the health risk that continued

incarceration at USP Canaan—which, as of April 9, 2020, had at least one inmate and one staff

member test positive for the virus, see Dkt. No. 760 at 6—poses to him. Furthermore, Mr. Gross

is a non-violent, first-time offender who has already served roughly half of his 60-month

sentence. And though his original release date—currently projected as May 16, 2022, see Dkt.

No. 760-9 at 2—“may be far off, the threat of COVID-19 is at his doorstep.” Zukerman, 2020

WL 1659880, at *4 (granting motion for compassionate release brought by defendant with

underlying health conditions who was convicted of non-violent offenses and was scheduled to be

released in July 2022). Thus, while the Court’s original 60-month sentence reflected the

seriousness of the offense at the time, contracting COVID-19 could transform that sentence into

a death sentence for Mr. Gross.

       Furthermore, though he is not projected to be released until May 16, 2022, see Dkt. No.

760-9 at 2, even prior to passage of the CARES Act—pursuant to which the Attorney General

has exercised his authority to “expand the cohort of inmates who can be considered for home

release” by BOP to include “all at-risk inmates,” see William P. Barr, Attorney General,

Memorandum for Director of Bureau of Prisons: Increasing Use of Home Confinement at




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Institutions Most Affected by COVID-19, at 1–2 (Apr. 3, 2020)—Mr. Gross would have been

eligible for release to home detention on November 16, 2021, see Dkt. No. 760-9 at 2—

approximately 19 months from now. Although this is not an insignificant amount of time

remaining on his sentence, given these circumstances, the grave risk the COVID-19 pandemic

poses to Mr. Gross outweighs any value to society by incarcerating him at USP Canaan for 19

additional months while the COVID-19 pandemic continues to wreak havoc across this country

and especially in its jails and prisons. This conclusion is bolstered by recent BOP guidance

permitting inmates, like Mr. Gross, in low or minimum-security facilities who have not yet

served 50% of their sentences to be considered for eligibility for transfer to home confinement in

light of the COVID-19 pandemic. See Livas v. Myers, No. 20-cv-422 (TAD), Dkt. No. 8-1 ¶¶

19–21 (W.D. La. Apr. 10, 2020).

       In light of the foregoing, if BOP has not yet finally resolved Mr. Gross’s request by May

2, 2020, the Court will grant his motion for compassionate release at that time, as 30 days will

have then passed from the receipt of Mr. Gross’s request by the Warden at USP Canaan.

III.   THE COURT MAY GRANT MR. GROSS’S MOTION SOONER IF THE
       GOVERNMENT WAIVES THE STATUTORY EXHAUSTION REQUIREMENT

       Finally, the Court notes that though it cannot grant Mr. Gross’s motion now, see supra

Section I, it may do so if the Government relents on its invocation of the statutory exhaustion

requirement as a barrier to this Court taking immediate action on Mr. Gross’s compassionate

release motion. This is so because the Court concludes that § 3582(c)(1)(A)’s exhaustion

requirement is mandatory but not jurisdictional. Statutory requirements like these are

jurisdictional only if they are explicitly couched in jurisdictional terms—the Supreme Court has

described this as a “bright line” rule. See Arbaugh v. Y&H Corp., 546 U.S. 500, 515–16 (2006)

(“If the Legislature clearly states that a threshold limitation on a statute’s scope shall count as



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jurisdictional, then courts and litigants will be duly instructed and will not be left to wrestle with

the issue. But when Congress does not rank a statutory limitation on coverage as jurisdictional,

courts should treat the restriction as nonjurisdictional in character.” (citation omitted)). Because

Congress did not define § 3582(c)(1)(A)’s exhaustion requirement as jurisdictional, the

requirement is instead a mandatory “claim-processing rule.” See Henderson v. Shinseki, 562

U.S. 428, 435 (2011); see also Fort Bend County v. Davis, 139 S. Ct. 1843, 1849 (2019).

Accordingly, the Government can waive compliance with this requirement. See Haney, Dkt. No.

27 at 7; see also United States v. Gentille, No. 19-cr-590 (KPF), Dkt. No. 31 at 1 (S.D.N.Y. Apr.

6, 2020) (articulating the Government’s position that the statutory exhaustion rqeuirement is not

jurisdictional but is “mandatory unless waived by the Government”).

       In light of the foregoing conclusion, all that stands between Mr. Gross and the incredibly

time-sensitive relief that he seeks at this juncture is the Government’s insistence that he fully

exhaust all administrative rights before resorting to this Court. The Court thus urges the

Government to very seriously consider whether the “seemingly elusive benefits” of maintaining

its position that Mr. Gross must fully exhaust his administrative rights before seeking relief from

this Court “outweigh the potentially catastrophic human consequences” of deferring Mr. Gross’s

release by three weeks. See United States v. Knox, No. 15-cr-445 (PAE), Dkt. No. 1084 at 4

(S.D.N.Y. Apr. 8, 2020).

IV.    CONCLUSION

       The Court concludes that it does not have authority to grant Mr. Gross’s motion for

compassionate release at this juncture, but it will do so by May 2, 2020, if not sooner. The

Government shall inform the Court and Mr. Gross by 6 p.m. on April 14, 2020 whether it

continues to invoke the statutory exhaustion requirement in this case.




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       SO ORDERED.


Dated: April 13, 2020
New York, New York               ____________________________________
                                           ALISON J. NATHAN
                                         United States District Judge




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